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FlLED
IN THE UN|TED STATES DlSTRlCT COURT SCRANTON

FOR THE MlDDLE DiSTRlCT OF PENNSYLVAN|A

 

 

 

 

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S.S.; S.V; and S.A., through their n /
adoptive parents and next friends, v app
Linda Baker and Warren Bakerl `“ '"“'EFLF§#§£°

Plaintiffs, Jury Tria| Demanded _

v. 3:cv- /’?,<; V--CY 35

Wayne County Children and ¥outh
Services,

Defendant.

COMPLA|NT

AND NOW COMES, S.S.; S.V.; and S.A., through their adoptive
parents and next friends, Linda Baker and Warren Baker (herein after
“Plaintiffs”), by and.through counse|, Harry T. Coieman, Esquire, and herby
complains and alleges as follows:

|. PRELlMlNA ATEMENT

1. S.S., S.V., and S.A., through Linda Baker and Warren Baker, as
adoptive parents and next friends, brings this action against the Wayne
County Children and Vouth Services ("Wayne County") for its failure to
provide P|aintiffs adoption subsidies consistent with the Pennsy|vania
Adoption Assistance Program Which administers the federal adoption

subsidy program designed to help parents meet their adopted children’s

 

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varied, and often cost|y, needs.

2. The United States Department of Hea|th and Human
Services (“HHS") and the United States Department of Justice have
issued guidelines to assist state and local child We|fare agencies and
courts to ensure that the welfare of children and families are protected
in a manner that also protects the civil rights of parents and prospective
parents of children with disabilities

3. Section 504 of the Rehabilitation Act of 1973 ("Section 504”)
and Title ll of the Arnerican’s with Disabi|ities Act of 1990 (“ADA”)
protects parents and prospective parents of children with disabilities
from unlawful discrimination in the administration of child welfare
programs, activities, and services.

4. Title ll of the ADA provides that no qualified individual with a
disability shall, by reason of such disability, be excluded from
participation in or be denied the benefits of the services, programs, or
activities of a public entity, or be subjected to discrimination by such
entity.

5. Section 504 provides that no qualified individual with a
disability shall, by reason of such disability, be excluded from

participation in or be denied the benefits of the services, programs, or

 

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activities of any entity that receives Federai financial assistance, or be
subjected to discrimination by such entity.

6. A child welfare agency, such as Wayne County, may not

y directly or through contract or other arrangements, engage in practices
or methods of administration that have the effect of discriminating on
the basis of disability, or that have the purpose or effect of defeating or
substantially impairing accomplishment of the objectives of the child
welfare agency’s goals and administrative tasks.

7. Wayne County’s actions here have exacerbated the overall
debilitation the minor Plaintiffs have experienced as a result of their
disabilities. The minor Plaintiffs have suffered and continue to suffer
from Wayne County’s failure to provide them adoption subsidies, which
has, among other things, impacted their academic, behaviorai, and

emotional functioning, increased and maintained their social isolation, and

 

constructively excluded them from age-appropriate activities at school, at
home, and in the community by an inability to fund same.

8. Plaintiffs allege that Wayne County has deprived the minor
Plaintiffs of their rights under Section 504 of the Rehabi|itation Act of 1973,
29 U.S.C. §794 et seq., ("Section 504"), Title ll of the Americans With

Disabi|ities Act of 1990, 42 U.S.C. §§12101 et seq. ("ADA"), the Equa|

 

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Protection Clause of the United States Constitution, and 42 U.S.C. § 1983.

9. Plaintiffs seek injunctive relief and adoption subsidies as well
as compensatory damages to compensate Plaintiffs for Wayne County’s
violations of their rights and the injuries they sustained as a result of those
violations. Plaintiffs also seek to recover the attorney's fees and costs
which they have incurred and will incur in their effort to secure the adoption
subsidies for S.S.; S.V.; and S.A., as well as compensatory damages 29
U.S.C. § 794a (b); and 42 U.S.C. § 1988.

10. Wayne County’s actions set forth below were done intentionally
or with deliberate indifference to Plaintiffs' federal statutory rights Wayne
County knew or should have known that its actions as set forth herein
violated the standards of conduct which were legally required at the time
those actions took place.

ll. JUR|SD|CT|ON A_ND VENUE

11. This Court has subject matter jurisdiction over this action
pursuant to 28 U.S.C. §§ 1331 and 1343. Venue in this District is proper
under 28 U.S.C. § 1391 because all Plaintiffs reside within Wayne County,
Pennsyi'vania, Where the Defendant Wayne County Children and Youth
Services is located , and where the Plaintiffs' causes of action arose.

lll. PART|ES

 

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12. Plaintiff S.S. was born on lVlay 5, 2008, and is currently under
the care of a medical doctor for medication management. S.S. has been
diagnosed with Oppositional Defiant Disorder, ADHD, combined type and
unspecified anxiety disorder. S.S. is a student with related impairments
with social and emotional development

13. Plaintiff S.V. was born on February 23, 2005, and is currently
under the care of a medical doctor for medication management S.V. has
been diagnosed with ADHD combined type. _S.V. is a student with related
impairments with social and emotional development

14. Plaintiff S.A. was born on September 251 2006, and is currently
under the care of a medical doctor for medication management S.A. has
been diagnosed With Unspecified impulse Control Disorder, ADHD
combined type and Unspecified Depressive Disorder. S.A. is a student
with related impairments with social and emotional development

15. Linda Baker and Warren Baker are the maternal great-
grandparents of the minor Plaintiffs as well as the adoptive parents of the
minor Plaintiffs At all times relevant to this action, they have resided in
Wayne County, Pennsylvania and within the geographical boundaries of

the District.

16. Wayne County is an appropriate defendant within the meaning

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of Section 504. lt receives federal and state funding for the purpose of
adoption subsidies for adoptions within its governmental boundaries
Wayn e County is also a "pub|ic entity" as defined by Title ll of the ADA.
42 U.S.C. § 12131 (1).

17. Wayne County has the responsibility under federal and state
law to assure that adoptees with disabilities are properly evaluated,
identified, and provided with appropriate adoption subsidies to enable them
to achieve meaningful educational benefit and enjoy equal educational
opportunities in relation to their typically developing age mates given their
individual needs

lV.` STATUT RY AND REGULATORV BACKGROUND

18. Children adopted in the Commonwealth of Pennsylvania
quaiify for adoption assistance under both state and federal law.

19. in order to quaiify for adoption assistance under Pennsylvania
law, a child must meet'one of the following requirements A. physical,
mental, or emotional condition or handicap... or B. a member of a sibling
group that is placed together The minor Plaintiffs are qualified under
both requirements

20. The categories of adoption assistance include non-recurring

expenses of adoption; Titie lV-E (federa|ly funded) monthly adoption

 

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assistance and state and county funded monthly adoption assistance.
The child must be legaliy free for adoption and subject to the custody or
control of a county children and youth agency.

21. The federal regulations 45 CFR 136.40(0) prohibit use of a
means test in determining eligibility for adoption assistance

22. The state agency, such as Wayne County, is required to
actively seek ways to promote the adoption assistance program pursuant
to 45 CFR 1356.40(f) which mandates that the agency, such as Wayne
County herein, is to notify prospective adoptive parents about the
availability of adoption assistance for the adoption of a child with special
needs.

23. During the adoption process, the Plaintiffs Linda Baker and
Warren Baker were never alerted to the possibility of adoption
assistance.

24. When the minor Plaintiffs were subject to an emergency
custody petition with the oversight of the Wayne County Children and
Youth Services, Wayne County had an obligation to encourage Linda
Baker and Warren Baker, as the prospective adoptive parents, to enter
into an adoption assistance agreement which Would trigger a multitude of

services and potential subsidies for the benefit of the three minor

 

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Plaintiffs Wayne County did not meet its obligation.
25. The adoption assistance program administered by Wayne

County is funded through federai, state, and local dollars

V. ADOPT|ON OF THE MiNOR PLAINTIFFS

26. On July 12, 2013, Plaintiffs Linda Baker and Warren Baker,
filed an Emergency Petition for Custody of the Plaintiffs S.S., S.V., and
S.A. in the Court of Common Pleas of Wayne County.

27. Prior thereto, the biological father of the minor Plaintiffs was
charged criminally with beating his son S.A.

28. The mother of the minor Plaintiffs was placed in a drug
rehabiiitation hospital for her addiction to heroin and other drugs

29. Wayne County Children and Youth Services Was involved in
the oversight of the children and assisted Linda Baker and Warren Baker
in seeking custody of the minor Plaintiffs

30. Linda Baker and Warren Baker subsequently adopted the
minor children by virtue of Orders entered in the Court of Common Pleas
of Wayne County.

31. Section 504 also requires that students With disabilities be

provided FAPE. in addition, Section 504 prohibits the exclusion of, or

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discrimination against any otherwise qualified individual With a disability by
federal fund recipients as does Title ll of the ADA, 42 U.S.C. § 12132, st
seq. Failure to provide accommodations and supplemental services
constitutes discrimination for purposes of both Section 504 and the ADA.

32. Both the lDEA and Section 504 require each state and Local
educational Agency (LEA) to locate, identify, and comprehensively evaluate
every child with a disabiiity Who resides Within its boundaries whether or
not those children are enrolled in the pubiic school system. 34 C.F.R. §
300.125; 34 C.F.R. § 104.35.

Vi. CAUSES OF ACT|ON
COUNT l: WAYNE COUNTY, THROUGH BAD FA|TH AND GROSS

M|SMANAGEMENT, lNTENTiONALLY DiSCR|M|NATED AGA|NST THE

MINOR PLA|NT|FFS ON THE BAS|S OF THEiR DiSABlL|TiES

|N VlOLATiON OF THEiR R|GHTS UNDER SECT|ON 504
OF THE REHAB|L|TAT|ON ACT AND THE ADA

33. The factual averments set forth in Paragraphs 1- 32 are re-
alleged and incorporated by reference herein.

34. in spite of their disabilities the minor Plaintiffs were adoptees
who were otherwise qualified to participate in the adoption subsidy
program.

35. The Plaintiffs Linda Baker and Warren Baker, were

informed that since their adoption of the minor Plaintiffs here was not

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done through foster care but rather through a private adoption that they
therefore would not qualify for an adoption subsidy. The focus here by
Wayne County was incorrectly placed on the adoptive parents and the
mechanism of the adoption as opposed to the status of the minor
adoptees. v

36. Wayne County’s failure to provide adoption subsidies to the
minor Plaintiffs and to properly accommodate their disabilities was the
result of bad faith and gross mismanagement and discriminated against
S.S., S.V., and S.A. on the basis of their disabilities

WHEREFORE, for ali the foregoing reasons it is respectfully
requested that judgment be entered in favor of the Plaintiffs for the
compensatory damages sought in this matter plus and award of attorney’s

fees and costs

COUNT l|: lNTENTiONAL DiSCR|M|NAT|ON AGA|NST S.S., S.V., AND
S.A. iN VIOLAT|ON OF THEiR RlGHTS PURSUANT TO THE EQUAL
PROTECTiON CLAUSE AND SECT|ON 1983

37. The factual averments set forth in Paragraphs 1-36 are re-
alleged and incorporated by reference herein.
38. The Equal Protection Ciause of the United States Constitution

provides S.S., S.V., and S.A. With substantive protection from unequal

treatment based on their disability which is not rationally related to an

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important state interest

39. Wayne County, intentionally and under color of |aw, has
discriminated against S.S., S.V., and S.A. on the basis of their disability,
without rational justification or excuse, and without any legitimate or
important governmental need to do so, and has thereby deprived them of
the equal protection of the iaw.

40. Wayne County’s actions in not approving the adoption subsidy l
for each minor Plaintiff were in futherance of an official policy or ratification
of systematic practices which it knew or should have known violated S.S.,
S.V., and S.A.’s well-established federal constitutional rights as'well of the
rights of other children with disabilities and was in deliberate indifference of
those rights. Wayne County also systematically failed to train its staff or to
supervise its staff and contractors thereby preventing the approval of the
adoption subsidies to S.S., S.V., and S.A. and others like them and for whom
Wayne County is required to provide equal adoption opportunities in spite of
their disabilities

41. Wayne County violated S.S., S.V. and S.A.’s right to equal
protection of the law pursuant to the Fourteenth Amendment to the United
States Constitution and in violation of 42 U.S.C. § 1983.

WHEREFORE, for all the foregoing reasons it is respectfully

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requested that judgment be entered in favor of the Plaintiffs for the
compensatory damages sought in this matter plus and award of attorney’s

fees and costs.

COUNT lil: PLA|NT|FFS’ CLA|MS FOR THEiR ATTORNE¥S
FEES AND COSTS PU RS UANT TOSECT|ON 504 AND 42 U.S.C §
1988.

42. The factual averments set forth in Paragraphs 1-41 are re-
alleged and incorporated by reference herein.

43. The expenditure of attorney time and the litigation costs
expended1 including the expert costs Were necessary in order to secure an
award in S.S., S.V., and S.A.’s favor.

vll. PRAvER FoR RELlEF

Wherefore, the Plaintiffs request the following relief:

1. That this Court acceptjurisdiction over the compensatory claims
set forth herein, take additional evidence, and award S.S., S.V., and S.A.
compensatory damages including but not limited to adoptive subsidies to
redress the injuries they have sustained as a result of the Defendant's
illegal conduct and deliberately indifferent violations of their rights;

2. Award Plaintiffs all the reasonable attorney fees and costs
Which they have incurred or will incur in prosecuting this action.

3. Grant such other relief as this Court deems just and

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appropriate
Respectfully submitted,
Dated: lVlay 26l 2017 LAW OFF|CE OF HARRY T. COLEMAN

By: /s/ Harri/ T. Coleman

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Harry T. Co|eman, Esquire
Attorney lD.: 49137

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May 26, 2017

Clerk of Court

U.S. District Court

Middle District of Pennsylvania
PO Box 1148

235 N. Washington Avenue
Scranton, PA 18501-1148

Re: S.S.; S. V.; and S.A., through their adoptive parents and next friends, Linda
Baker and Warren Baker v. Wayne County Children and Youth Services
Docket No. :
0ur File No.: 13281

Dear Sir / Madam:

Enclosed with regard to the above-referenced matter, please find an original and one copy
of a Complaint along With a draft in the amount of $400.00 for the filing of same Kindly file the
original of record and return the copy to the undersigned in the envelope provided.

Shouid you have any questions or concerns, please do not hesitate to contact the
undersigned

Thanl< you.
Very truly yours,

saw fea/nw

Harry T. Coleman, Esquire
I-ITC:at
Enclosure

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